                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO


Civil Action No. 15-cv-02362-RBJ

DANA ALIX ZZYYM,

       Plaintiff,

v.

MICHAEL R. POMPEO, in his official capacity as the Secretary of State; and
SHERMAN PORTELL, in his official capacity as the Director of the Colorado Passport
Agency for the United States Department of State,

       Defendants.



                                       FINAL JUDGMENT


               In accordance with the orders filed during the pendency of this case, and

pursuant to Fed. R. Civ. P. 58(a), the following Final Judgment is hereby entered.

       Pursuant to the ORDER [ECF No. 88] of Judge R. Brooke Jackson entered on

September 19, 2018, it is

       ORDERED that the administrative record does not show that the decision making

process that resulted in the policy in question was rational. It is

       FURTHER ORDERED that the withholding of Dana Zzyym’s passport is in

excess of statutory authority. It is

       FURTHER ORDERED that the defendants are enjoined from relying upon its

binary-only gender marker policy to withhold the requested passport from Dana Zzyym.
Dated at Denver, Colorado this 19th day of September, 2018.

                                      FOR THE COURT:
                                      JEFFREY P. COLWELL, CLERK

                                  By: s/ J. Dynes
                                          J. Dynes
                                          Deputy Clerk
